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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


WIND RIVER MANAGEMENT CORP. ,                    )
                                                 )
                        Plaintiff,               )
                                                 )
V.                                               )
                                                 )
FEDERAL INSURANCE COMPANY, and                   )
WALTER HAESSIG,                                  )
                                                 )
                        Defendants.              )    Civil Action No. 3:17-CV-2674-C




                                              ORDER

         On this day the Court considered:

         (1) PlaintiffWind River Management Corp. ' s Motion to Remand, filed
         October 27, 2017; and

         (2) Defendant Federal Insurance Company's Brief in Response, filed
         November 17, 2017.

         Having considered the foregoing, the Court is of the opinion that Plaintiff's Motion

should be GRANTED.

                                       I. BACKGROUND

         Plaintiff, Wind River Management Corp. , owns a commercial property in Dallas, Texas,

that is covered by an insurance policy issued by Defendant Federal Insurance Company (FIC).

After the insured property allegedly suffered wind and/or hail damage, Plaintiff made a claim

under the policy. This lawsuit arose after Plaintiff alleged that Defendant FIC and Defendant

Walter Haessig (an insurance adjuster) failed to conduct a full , fair, and adequate investigation of

the damage and wrongfully denied Plaintiff's claim. Defendant FIC timely removed to this Court
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on the basis of diversity jurisdiction, asserting that Haessig was improperly joined and that his

Texas citizenship should thus be disregarded. Plaintiff now moves for remand.

                                           II. STANDARD

        The party seeking to remove a case to federal court bears the burden of showing that

federal jurisdiction exists and that removal was proper. Mumfrey v. CVS Pharm. , Inc., 719 F.3d

392, 397 (5th Cir. 2013). Any doubts should be strictly construed in favor of remand. African

Methodist Episcopal Church v. Lucien, 756 F.3d 788 , 793 (5th Cir. 2014).

        Where charges of improper joinder are used to establish diversity jurisdiction, the

removing party has the heavy burden of proving the improper joinder. Travis v. Irby, 326 F.3d

644, 649 (5th Cir. 2003). This can be established in one oftwo ways: (1) actual fraud in the

pleading of jurisdictional facts, or (2) the inability of the plaintiff to establish a cause of action

against the non-diverse party in state court. Mumfrey, 719 F.3d at 401. To prove an allegation of

improper joinder, the defendant must demonstrate that there is no reasonable basis for the district

court to predict that the plaintiff might be able to recover against a non-diverse defendant.

Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004) (en bane). The existence of

even a single valid cause of action against an in-state defendant requires remand. Gray ex rei.

Rudd v. Beverly Enters.-Miss., Inc., 390 F.3d 400, 405 (5th Cir. 2004). All disputed questions of

fact and all ambiguities in the controlling state law must be resolved in favor of the plaintiff.

Davidson v. Georgia-Pacific, L.L.C. , 819 F.3d 758 , 765 (5th Cir. 2016).

        The Court need not decide whether the plaintiff will actually, or even probably, prevail on

the merits but must look only for a possibility that the plaintiff may do so. Guillory v. PPG

Indus., Inc. , 434 F.3d 303, 309 (5th Cir. 2005). If there is any possibility that a plaintiff may


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prevail against the non-diverse defendant in state court, then a good faith assertion of such an

expectancy is not a sham and is not fraudulent in fact or in law. B. , Inc. v. Miller Brewing Co.,

663 F.2d 545, 550 (5th Cir. Unit A 1981) (internal quotations and citations omitted).

                                        III. DISCUSSION

       The law is now settled in the Fifth Circuit that federal courts evaluating a motion to

remand for improper joinder must apply thefederal12(b)(6) plausibility standard-rather than

the state pleading standard-to determine whether the plaintiff has pleaded a valid claim for

relief against the non-diverse defendant. Int 'I Energy Ventures Mgmt., LLC v. United Energy

Grp. , 818 F.3d 193, 202 (5th Cir. 2016). Accordingly, the Court conducts a 12(b)(6)-style

review of Plaintiff's Original Petition to determine whether the claims asserted against Defendant

Haessig meet the Twombly!Iqbal plausibility standard. !d.

       Plaintiffs' specific 1 allegations against Haessig in the Original Petition include the

following:

               ,-r 13. INSURANCE DEFENDANT [FIC] assigned the claim to
               ADJUSTER DEFENDANT [Haessig], who was charged with the
               duty of doing a reasonable investigation before denying or offering
               a compromise on a claim. However, ADJUSTER DEFENDANT
                [Haessig] did not follow through on his duties. After the claim was
               reported, ADJUSTER DEFENDANT [Haessig] began to look into
               the claim details. He quickly noted that there was wind damage,
               but because he wrongfully believed the claim was reported as
               solely a hail claim, he refused to investigate the wind damage that
               was abundant and evident. When pressed on the issue, he then
               began to question when the wind actually occurred. Despite him
               having the duty to investigate when the wind event occurred, and
               despite being presented with evidence that it happened within days


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        The Court disregards pleadings that are merely "threadbare recitals of a cause of action's
elements, supported by mere conclusory statements." Ashcroft v. Iqbal, 556 U.S. 662, 678
(2009).

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               of the hail event (if not on the same day), he still refused to fully
               adjust the wind damage. He was thereafter presented with
               evidence of when the wind event occurred. ADJUSTER
               DEFENDANT [Haessig] still refused to adjust the loss under the
               loss with Plaintiff and instead indicated that his decision remained
               unchanged. This was after having all of the information he needed
               to promptly and fairly effectuate an equitable settlement. He also
               would not give a basis in the policy as to why these damages were
               not being paid for and instead being implicitly denied.

               ~ 14. Simply put, even though INSURANCE DEFENDANT's
               [FIC's] liability under the policy was reasonably clear,
               ADJUSTER DEFENDANT [Haessig] refused to effectuate a
               prompt, fair, and equitable settlement with the Plaintiff.
               ADJUSTER DEFENDANT [Haessig] also failed to provide a
               reasonable explanation under the terms of the policy as to why the
               wind damages and hail damages were not being paid for.

Pl.'s Orig. Pet. 3-4.

       The Supreme Court of Texas has held that independent bad conduct by an insurance

company's employee or agent may give rise to individual liability under Chapter 541 of the

Texas Insurance Code because the individual is engaging in the business of insurance and is

therefore a "person" under the language of the statute. See Liberty Mut. Ins. Co. v. Garrison

Contractors, Inc., 966 S.W.2d 482 , 486 (Tex. 1998); Tex. Ins. Code§§ 541.002-541.003.

Accordingly, the United States Court of Appeals for the Fifth Circuit has recognized that an

insurance company's employee is not improperly joined when that employee engages in the

business of insurance and is subsequently sued in their personal capacity under Chapter 541 . See

Gasch v. Hartford Accident & Indem. Co. , 491 F.3d 278, 282 (5th Cir. 2007). However, just

because Haessig may legally be subjected to individual liability does end the analysis; the Court

must still determine whether Plaintiffs pleadings offer a reasonable basis to predict that Plaintiff




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may recover against Haessig in state court. Gibson v. Liberty Ins. Corp., No. 3:16-CV-3099-B,

2017 WL 3268028, at *9 (N.D. Tex. Jul. 31 , 2017) (Boyle, J.).

       FIC argues that Plaintiffs pleadings fail to establish any independent liability ofHaessig

under state law. For an adjuster to be individually liable to an insured, "they have to have

committed some act that is prohibited by the [Insurance Code] , not just be connected to an

insurance company's denial of coverage." Messersmith v. Nationwide Mut. Fire Ins. Co., 10 F.

Supp. 3d 721 , 724 (N.D. Tex. 2014). Relying on Messersmith and similar cases, FIC first asserts

that Haessig cannot be liable for violations of§ 541.060 of the Insurance Code as a matter of

law. See id.; Mainali Corp. v. Covington Specialty Ins. Co. , No. 3:15-CV-1087-D, 2015 WL

5098047, at *4 (N.D. Tex. Aug. 31 , 2015) (Fitzwater, J.). Additionally, and in the alternative,

FIC argues that Plaintiffs specific pleadings against Haessig are not sufficiently plausible under

the federal pleading requirements.

       The Court disagrees with both arguments and finds that Plaintiffs individual allegations

against Haessig are sufficient to plausibly plead a claim under Chapter 541 of the Insurance

Code. It is true that there is currently a split of authority within the Fifth Circuit, and even

among the judges of this Court, concerning the extent of an individual adjuster' s liability under

Texas Insurance Code§ 541.060. See, e.g. , Arlington Heights Mem 'l Post No. 8234 Veterans of

Foreign Wars of the US. , Forth Worth, Tex. v. Convington Specialty Ins. Co., No. 3:16-CV-

3112-B, 2017 WL 1929124, at *3--4 (N.D. Tex. May 10, 2017) (Boyle, J.) (concluding that an

individual adjuster may be liable under § 541.060 and noting the current split of authority on this

issue); Hooper v. Allstate Texas Lloyd 's, No. 4:17-CV-2038, 2017 WL 4475931 , at *3 (S.D. Tex.

Oct. 6, 2017) (noting the split of authority among federal district courts and commenting that


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"[t]he weight of authority favors the courts holding that adjusters may be found individually

liable under§ 541.060."). 2 But the undersigned is mindful that all ambiguities in the controlling

state law must be resolved in favor of the plaintiff and that any doubts regarding jurisdiction

must be strictly construed in favor of remand. Davidson, 819 F.3d at 765; Lucien, 756 F.3d at

793. Given the current split of authority discussed above, the Court is of the opinion that FIC has

failed to meet its burden to show that there is no reasonable basis for the Court to predict that the

plaintiff might be able to recover against Haessig. Smallwood, 385 F.3d at 573 . Accordingly,

Haessig has not been improperly joined, and (given his Texas residency) federal diversity

jurisdiction does not exist. The case must be remanded.




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         See also Exchange Servs., Inc. v. Seneca Ins. Co., No. 3:15-CV-1873-M, 2015 WL
6163383, at *5 (N.D. Tex. Oct. 16, 2015) (Lynn, J.) (finding that a Plaintiffhad stated valid
claims against an adjuster where a state court petition claimed that an adjuster made numerous
errors in estimating the value of a claim designed to intentionally minimize and underpay the loss
incurred by a plaintiff; estimated payment far below the repair costs; conducted an incomplete
investigation; and failed to provide a reasonable explanation as to why the plaintiff would not be
compensated for the value of the covered loss); New Life Assembly of God v. Church Mut. Ins.
Co., No. 2:15-CV-051-J, 2015 WL 2234890 at *6-8 (N.D. Tex. May 12, 2015) (Robinson, J.)
(concluding that allegations were sufficient to state a claim against adjuster by pleading that the
adjuster conducted substandard investigation and inspection of property, prepared report that
failed to include all damages noted in inspection, undervalued damages observed in inspection,
performed an outcome-oriented investigation that led to biased evaluation, and failed to provide
reasonable explanation for denial of claim); Lopez-Welch v. State Farm Lloyds, No. 3:14-CV-
2416-L, 2014 WL 5502277, at *8 (N.D. Tex. Oct. 31, 2014) (Lindsay, J.) (holding that a
plaintiffs allegations were sufficient to state a claim against an adjuster where the plaintiff
pleaded adjuster failed to provide a reasonable explanation for the insurer's denial of claim,
refused to conduct a reasonable investigation, and did not act in good faith).

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                                      IV. CONCLUSION

       For the foregoing reasons, Plaintiffs Motion to Remand is GRANTED and the above-

styled and -numbered civil action is REMANDED to the 44th Judicial District Court of Dallas

County, Texas. The Clerk of this Court shall mail a certified copy of this order to the District

Clerk ofDallas County, Texas.

       Defendant Walter Haessigr       otion to Dismiss is DENIED AS MOOT.

       SO ORDERED this        /J   day of December,       7.




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